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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

    HOLMES PROSTHETIC                                         §
    CENTER LLC,                                               §
                                                              §
                              Plaintiff                       §
                                                              §
    v.                                                        §                Civil Action No: 4:20-CV-1633
                                                              §
    ZURICH AMERICAN INSURANCE                                 §
    COMPANY AND SEDGWICK                                      §
    CLAIMS MANAGEMENT SERVICES                                §
    INC.                                                      §
                                                              §
                              Defendants                      §

            DEFENDANT ZURICH AMERICAN INSURANCE COMPANY’S
                    ORIGINAL ANSWER AND DEFENSES

         Defendant Zurich American Insurance Company (“Zurich”) files this Original

Answer and Defenses to Plaintiff’s Original Petition1 as follows:

                                  1.        Selection of Discovery Level

         No response is required.

                                   2.        Statement of Relief Sought

         No response is required.

                                3.        Parties and Service of Citation

         Zurich lacks knowledge or information sufficient to form a belief about the

allegations contained in the first paragraph of section 3.

          Zurich lacks knowledge or information sufficient to form a belief about the

allegations contained in the second paragraph of section 3.




1
  Zurich is filing its answer to Plaintiff’s Original Petition filed in state court as it has not replead since the case was
removed to this Court.

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       Zurich admits the allegations contained in the third paragraph of section 3.

                                4.     Factual History

       Zurich lacks knowledge or information sufficient to form a belief about the truth

allegations contained in section 4.


                                5.     Causes of Action

       A.     Misrepresentation

       Zurich denies the allegations contained in section 5A.

       B.     Negligent Misrepresentation

       Zurich denies the allegations contained in section 5B.

       B.     Quantum Meruit

       Zurich denies the allegations contained in the second section 5B.

       C.     Promissory Estoppel

       Zurich denies the allegations contained in section 5C.

                                5.     Attorneys’ Fees

       Zurich denies the allegations contained in the second section 5.



                                      DEFENSES

       Zurich asserts the additional following defenses including defenses under Federal

Rule of Civil Procedure 12(b)(1) and (6):

       1.     Plaintiff’s claims are barred against Defendant, in whole or in part, because

Plaintiff has failed to exhaust all administrative remedies prior to filing this lawsuit.

Jurisdiction is mandatory before the Texas Department of Insurance. This Court lacks




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jurisdiction over Plaintiff’s claims, and Plaintiff has failed to state claims upon which relief

may be granted.

       2.     The negligence and/or actions of Plaintiff were, in whole or part, a

proximate cause or producing cause of the occurrence in question and/or the alleged

damages.

       3.     The occurrence in question and/or the alleged damages were proximately

caused and/or were the effect of a producing cause, in whole or in part, by the acts,

omissions, fault, negligence, or other conduct of third parties.

       4.     In the event Defendant is found liable to Plaintiff, any such liability being

expressly denied, Defendant is entitled to contribution, credit, and/or indemnity, as

provided by the laws and statutes of the State of Texas including, but not limited to, the

provisions of Chapters 32 and 33 of the Texas Civil Practice and Remedies Code, as well

as submitting issue of proportionate fault and/or proportionate responsibility to assigned

by the tier of fact, as well as other applicable laws and statutes.

       6.     Plaintiff failed, either in whole or in part, to mitigate damages as required

under applicable law.

       7.     Plaintiff’s claims and the damages it seeks are barred because Plaintiff has

failed to comply with or satisfy conditions precedent.

       8.     Defendant is entitled to an offset and/or credit for any settlements and/or

payments made.

       9.     The claim is not covered under the workers compensation policy issued by

Defendant and is not owed under applicable law.




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                                         PRAYER

       Zurich American Insurance Company prays that the Court dismiss Plaintiff’s

claims pursuant to Rule 12(b)(1) and (6); that Plaintiff take nothing by their suit; and that

Defendant recover its costs together with such other and further relief to which it may be

justly entitled.

                                          Respectfully submitted,

                                                 /s/ Blair Dancy
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                                          COMPANY




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